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Case 2:17-mj-00972-N.]K Document 1 Filed 10/10/17 Page 1 of 32

 

Office of the United States Attorney
District of Nevada

501 Las Vegas Boulevard, Suite 1100
Las Vegas, Nevada 89101

(702) 3 88-6336

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Case 2:17-mj-00972-N.]K Document 1 Filed 10/10/17 Page 2 of 32

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STEVEN W. MYHRE 1 11 1 111 d
Acting United States Attorney

District ofNevada 2{]|'} GE'[ ]{] 1114 9: 31
CRIST]INA D. SILVA

PATRICK BURNS ‘LJ.E. i”"i1‘11'_`131;'1,»“".1§ JUDEE
Assistant United States Attorneys

501 Las Vegas Bivd. Som-,h, ste. 1100 B`f'.
Las Vegas, Nevada 89101

Telephone: (702) 388-6336

Fax (702) 388-6698

john.p.burns@usdoj.gov

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Attorney for the United States of America

UNITED STATES DISTRICT COURT
DISTRICT OF NEVADA
-000-

IN TH:E MATI'ER or THE SEARCH 0F Magistrate No. |'7' rs - CV}Q , mg
INFORMATION RELATED To TH:E: 5

AMAZON ACCOU`NT L]NI{ED TO AFFIDAVIT IN SUPPORT OF
CENTRALPARKl@LIVE.COM THAT IS AN APPLICATION FOR A SEARCH
STORED AT A PREMISES WARRANT

CONTROLLED BY AMAZON, [NC.
(Under Seal)

 

STATE OF NEVADA )
) ssr
COUNTY OF CLARK )

AFFIDAVIT IN SUPPORT OF AN
APPLICATION FOR A SEARCH WARI`\'.ANT

I, Ryan S. Burke, Special A.gent, Federal Bu_reau of Investigation (FBI), having
been duly sworn, hereby depose and Say:
]NTRODUCTION AND AGENT BACKGROUN.D
1. Your Afliant makes this aHidavit in support of an application for a search
Warrant for information related to the Amazon account associated with email account

centralparkl@live.com (“Target Amazon Accou_nt”). The Target Amazon Account is

 

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Case 2:17-mj-00972-N.]K Document 1 Filed 10/10/17 Page 3 of 32

associated With STEPHEN PADDOCK and the information is stored at a premises
owned, maintained, controlled, or operated by Amazon.com, Inc. (“Amazon”), an
American electronic commerce and cloud computing company based in Tumwater,
Washington. More generally, Amazon is a Website that allows account holders to browse
for and purchase a variety of goods. Separately, Amazon oH`ers and provides internet-
based cloud services to various individuals/entities The information to be searched is
described in the following paragraphs and in Attachment “A” (attached hereto and
incorporated herein by reference). This aHidavit is made in support of an application for
a search Warrant under 18 U.S.C. §§ 2703(a), 2703(b)(1)(A), and 27 03(0)(1)(A) to require
Amazon to disclose to the government records and other information in its possession,
pertaining to the subscriber or customer associated With the Target Amazon Account.

2. 1 am an “investigative or law enforcement officer of the United States”
Within the meaning of Title 18, United States Code, Section 2510(‘7), that is, an oflicer of
the United States Who is empowered by law to conduct investigations of, and to make
arrests for, offenses enumerated in Title 18, United States Code, Section 2516.

3. I have been employed as a Special Agent of the FBI for approximately Eve
years, Which began at the FBI Academy in October 2012. Upon completion of the
academy, 1 Was transferred to the Las Vegas Division’s White collar crime squad and
then the human trafficking squad. Since October 2015, I have been assigned to the Las
Vegas Division’s Violent crime/gang squad. Additionally, I have been a certiEed member
of the FBI’s Cellular Analysis Survey Tea_m since August 2015 due to my expertise in

the field of historical cell site analysis.

 

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Case 2:17-mj-00972-N.]K Document 1 Filed 10/10/17 Page 4 of 32

4. During my tenure with the FBI, I have conducted surveillance, analyzed
telephone records, interviewed witnesses, supervised activities of sources, executed
search warrants, executed arrest Warrants, and participated in court-authorized
interceptions of wire and electronic communications These investigative activities have
been conducted in conjunction with a variety of investigations, to include those involving
robbery, drug traiiicking, kidnapping, murder, criminal enterprises, and more. In
addition to my practical experiences, I received five months of extensive law enforcement
training at the FBI Academy.

5. The facts in this afhdavit are derived from your Affiant’s personal
observations, his training and experience, and information obtained from other agents,
detectives, and Witnesses. This affidavit is intended to show merely that there is
sufficient probable cause for the requested Warrant and does not set forth all of the
Aftiant’s knowledge about this matter.

6. Based on your AHiant’s training and experience and the facts as set forth
in this aHidavit, there is probable cause to believe that violations of:

a. DestructionfDamage ofAircraft or Aircraft Facilities - 18 U.S.C.A. § 32(a);

b. Violence at International Airport - 18 U.S.C. § 37 (a)(2); and

c. Unlawful Interstate Transport/Delivery of Firearms by Non Federal
Firearms Licensee - 18 USC 922(a)(3) and (5).'

(herea&er, “Subject Offenses”] have been committed by STEPHEN PADDOCK and
others yet unknown There is also probable cause to search the information described in

Attachment “A” for evidence of these crimes and information which might reveal the

 

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Case 2:17-mj-00972-N.]K Document 1 Filed 10/10/17 Page 5 of 32

identities of others involved in these crimes, as described in Attach.ment “B” (attached
hereto and incorporated herein by reference).
PROBABLE CAUSE

7 . On the evening of Sunday, October 1, 2017 , Route 91 Harvest, a music
festival, was in progress at 3901 South Las Vegas Boulevard, Las Vegas, Nevada. At
approximately 10:08 p.m., the Las Vegas Metropolitan Police Department (LVMPD)
received calls reporting shots had been Ered at the concert and multiple victims were
struck. LVMPD determined the shots were coming from Rooms 134 and 135 on the 32nd
floor of the Mandalay Bay Resort and Casino, located due west of the festival rounds at
3950 South Las Vegas Boulevard, Las Vegas, Nevada. These rooms are an elevated
position which overlooks the concert venue. Witness statements and video
footage captured during the attack indicates that the weapons being used were firing in
a fully-automatic fashion

8. LVMPD officers ultimately made entry into the room and located an
individual later identified as STEPHEN PADDOCK. Paddock was deceased from an
apparent self-inflicted gunshot wound.

9. Paddock’s Nevada driver’s license was located in the Mandalay Bay hotel

room with Paddock, and both hotel rooms were registered in his name. A player’s club

v card in name of Marilou Danley was located in `Paddock’s room, and the card returned

to the address located on Babbling Brook Street in Mesquite, Nevada. FBI Agents
located Da_nley, who was traveling outside the United States at the time of the
shooting lt was ultimately determined that Danley resided with Paddock at the

Babbling Brook address.

 

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Case 2:17-mj-00972-N.]K Document 1 Filed 10/10/17 Page 6 of 32

10. On October 2, 2017, search warrants were executed on Paddock’s Ma.ndalay
Bay hotel rooms, Paddock’s vehicle at Mandalay Bay, and two Nevada residences owned
by Paddock: 1372 Babbling Brook Court in Mesquite, and 1735 Del Webb Parkway in
Reno, Nevada. Ofiicers and Agents found over 20 firearms, hundreds of rounds of
ammunition, and hundreds of spent shell casings in the Mandalay Bay hotel rooms, in
close proximity to Paddock’s body. Over a thousand rounds of rifle ammunition and 100
pounds of explosive material were found in Paddock’s vehicle. Additional explosive
material, approximately 18 flrearms, and over 1,000 rounds of ammunition were located
at the Mesquite residence A large quantity of ammunition and multiple firearms were
recovered from the Reno residence

11. As of this date, 58 people have been identified to have been killed in
Paddock’s attack and another 557 were reportedly injured. Additionally, investigators
discovered that STEPHEN PADDOCK also utilized a firearm to shoot large fuel tanks
on Las Vegas McCarran International Airport property. Multiple bullet holes were found
on the tank, which investigators believe was an attempt by STEPHEN PADDOCK to
cause the tanks to explode.

12. In an effort to determine whether or not STEPHEN PADDOCK was
assisted and/or conspired with unknown individuals, investigators have attempted to
identify all of STEPHEN PADDOCK’s communication facilities Based on a review of his
financial accounts, ema_il address centralnarkl@live.com (“Email Account”) was
determined to belong to STEPHEN PADDOCK. On October 3, 2017, investigators
requested an emergency disclosure of records from Microsof't related to the Email

Account so it could be searched for any evidence of additional co-conspirators. Within

 

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Case 2:17-mj-00972-N.]K Document 1 Filed 10/10/17 Page 7 of 32

the Email Account, investigators identiied the Target Amazon Account as one that
required further investigation

13. Numerous emails sent from Amazon to the Email Account were discovered
in the Email Account which were addressed by Amazon to “Stephen” and listed
STEPHEN PADDOCK’s residence in Mesquite, Nevada as the shipping destination. For
these reasons in conjunction with the Target Amazon Account being associated with the
Email Account, investigators strongly behave the Target Amazon Account was controlled
and operated by STEPI-[EN PADDOCK.

14. On September 7 , 2017, the Email Account received an ema.il relating to the
Target Amazon Account’s purchase of an EOTech 512.A65 Tactical Holographic firearm
accessory. Within the email, which was addressed to STEPHEN PADDOCK, Amazon
confirmed the firearm accessory would be delivered to STEPHEN PADDOCK’s
residence Investigators believe this piece of equipment was utilized in the attack carried
out by STEPHEN PADDOCK.

15. Your AfEant believes the requested search warrant will yield significant
information from Amazon such as STEPHEN PADDOCK’s search history, purchase
history, IP addresses, shipping addresses, payment information, and more, which may
constitute evidence of his planning of the attack and potentially identify other
participants in the attack. Ultimately, your Ali';iant strongly believes the requested
information will lead investigators to determine the full scope of STEPHEN PADDOCK’s
plan and/or conspiracy.

INF()RMATION TO BE SEARCHED AND TH]NGS TO BE SEIZED

 

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Case 2:17-mj-00972-N.]K Document 1 Filed 10/10/17 Page 8 of 32

16. Your Afiiant anticipates executing this warrant under the Electronic
Communications Privacy Act, in particular 18 U.S.C. §§ 27 03(a), 27 03(b)(1)(A) and
2703(0)(1)(A), by using the warrant to require Amazon to disclose to the government
copies of the records and other information (including the content of communications)
particularly described in Section I of Attachment “B.” Upon receipt of the information
described in Section I of Attachment “B,” government-authorized persons will review
that information to locate the items described in Section II of Attachment “B.”

CONCLUSION

17 . Based on the forgoing, I request that the Court issue the proposed search
warrant. This Court has jurisdiction to issue the requested warrant because it is “a court
of competent jurisdiction” as defined by 18 U.S.C. § 2711. 18 U.S.C. §§ 2703(a), (b)(l)(A)
& (c)(l)(A). Specifically, the Court is “a district court of the United States . . . that _ has
jurisdiction over the offense being investigated.” 18 U.S.C. § 2711(3)(A)(i). Pursuant to
18 U.S.C. § 2703(g), the presence of a law enforcement officer is not required for the
service or execution of this warrant

REQUEST FOR SEALING

18. I further request that the Court order that all papers in support of this

l application, including the affidavit and search warrant, be sealed until further order of

 

the Court. These documents discuss an ongoing criminal investigation that is neither
public nor known to all of the targets of the investigation Accordingly, there is good

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Case 2:17-mj-00972-N.]K Document 1 Filed 10/10/17 Page 9 of 32

cause to seal these documents because their premature disclosure may seriously

jeopardize that investigation

Respectfully Submitted,

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W,,;j/%
an S. Burke, Special Agent
Federal Bureau of Investigation

SWORN TO AND SUBSCRIBED
before me this@@_|’day of October 2017.

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iiNlTED s MAGISTRATE JUDGE

 

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Case 2:17-mj-00972-N.]K Document 1 Filed 10/10/17 Page 10 of 32

ATTACI-IMENT “A”
ONLINE ACCOUNT TO BE SEARCI~IED

1. This warrant applies to information related to the Amazon.com account
associated with centralparkl@live.com (the “Target Amazon Account”) from its inception
to present, which is stored at premises owned, maintained, controlled, or operated by
Amazon.com, Inc., headquartered at 300 Deschutes Way SW, Suite 304, Tumwater, WA
98501.

 

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Case 2:17-mj-00972-N.]K Document 1 Filed 10/10/17 Page 11 of 32

AT'I'ACHMENT “B”
Particular Things to be Seized

1. Inf`ormation to be disclosed by the Ser'vice Provider

To the extent that the information described in Attachment A is within the possession,
custody, or control of Amazon.com, including any Emails, records, files, logs, or
information that have been deleted but are still available to Service Provider, or have
been preserved pursuant to a request made under 18 U.S.C. § 2703(1), Service Provider
is required to disclose the following information to the government for each account or
identifier listed in Attachment A from account inception to present:

a. All names, addresses, ema.il addresses, shipping addresses, and billing
information associated with the Target Amazon Account;

Date of account creation;

All purchase history;

Service usage information;

All Internet Protocol Address logs and information;

All messages and/or communications exchanged with Amazon.com

waives

representative;

g. Any and all information, Hles, and data in possession of Amazon.com
and/or any other entities controlled or operation by Amazon,com, Inc.
related to the Target Amazon Account.

II. Information to be seized bv the United States

After reviewing all information described in Section 1, the United States will seize
evidence of violations of Title 18, United States Code Sections 32(a)
(DestructionfDamage of Aircraft or Aircraft Facilities); 37 (a)(2) (Violence at
International Airport); and 922(a)(3); 5 (Unlawful Interstate Transport/Delivery of
Firearms by Non Federal Firear'ms Licensee) (the “Subject Offenses”) that occur in the
form of the following, from account inception to present:

a. Communications, transactions and records that may establish ownership
and control (or the degree thereof) of the Target Account, including address
books, contact or buddy lists, bills, invoices, receipts, registration records,
bills, correspondence, notes, records, memoranda, telephone/address books,
photographs, video recordings, audio recordings, lists of names, records of

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Case 2:17-mj-00972-N.]K Document 1 Filed 10/10/17 Page 12 of 32

payment for access to newsgroups or other online subscription services, and
attachments to said communications, transactions and records,

b. Communications, transactions and records to/from persons who may be co-
conspirators of the Subject Offenses, or which may identify co-conspirators.

c. Communications, transactions and records which may show motivation to
commit the Subject OH`enses.

d. Commu:oications, transactions and records that relate to the Subject
OH`enses.

e. Information related to wire transfers and/or the movement, possession, or

storage of currency and valuable items.

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Case 2:17-mj-00972-N.]K Document 1 Filed 10/10/17 Page 13 of 32

ATTACHMENT “C”

PR()TOCOL FOR SEARCH]NG TI'[E ELECTRONIC DATA SEIZED
PU'RSUANT TO TI'HS SEARCH WAR`R.ANT

1. In executing this warrant, the government must make reasonable efforts to
use methods and procedures that will locate and expose in the electronic data produced
in response to this search warrant (“the Search Warrant Data”) those categories of data,
Hles, documents, or other electronically stored information that are identified with
particularity in the warrant, while minimizing exposure or examination of irrelevant,
privileged, or confidential files to the extent reasonably practicable

2. When the Search Warrant Data is received, the government will make a
duplicate copy of the Search Warrant Data (“the Search Warrant Data Copy”). The
original version of the Search Warrant Data will be sealed and preserved for purposes
of: later judicial review or order to return or dispose of the Search Warrant Data;
production to the defense in any criminal case if authorized by statute, rule, or the
Constitution; for purposes of showing the chain of custody of the Search Warrant Data
and the Search Warrant Data Copy; or for any other lawful purpose. The original of the
Search Warrant Data will not be searched or examined except to ensure that it has been
fully and completely replicated in the Search Warrant Data Copy.

3. The investigating agents will then search the entirety of the Search
Warrant Data Copy using any and all methods and procedures deemed appropriate by
the United States designed to identify the information listed as Information to be Seized
in Attachment B, Section II. The United States may copy, extract or otherwise segregate
information or data listed as Information to be Seized in Attachment B, Section II.
Information or data so copied, extracted or otherwise segregated will no longer be subject
to any handling restrictions that might be set out in this protocol beyond those required
by binding law. To the extent evidence of crimes not within the scope of this warrant
appear in plain view during this review, a supplemental or “piggyback” warrant will be
applied for in order to further search that document, data, or other item.

4. Once the Search Warrant Data Copy has been thoroughly and completely
examined for any document, data, or other items identified in Attachment B, Section II
as Information to be Seized, the Search Warrant Data Copy will be sealed and not subject
to any further search or examination unless authorized by another search Warrant or
other appropriate court order. The Search Warrant Data Copy will be held and preserved
for the same purposes identiHed above in Paragraph 2.

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Case 2:17-mj-00972-N.]K Document 1 Filed 10/10/17 Page 14 of 32

5. The search procedures utilized for this review are at the sole discretion of
the investigating and prosecuting authorities, and may include the following techniques
(the following is a non-exclusive list, as other search procedures may be used):

a. examination of all of the data contained in the Search Warrant Data to view
the data and determine whether that data falls within the items to be seized as set forth
herein;

b. searching for and attempting to recover from the Search Warrant Data any
deleted, hidden, or encrypted data to determine whether that data falls within the list
of items to be seized as set forth herein (any data that is encrypted and unreadable will
not be returned unless law enforcement personnel have determined that the data is not
(1) an instrumentality of the offenses, (2) a fruit of the criminal activity, (3) contraband,
(4) otherwise unlawfully possessed, or (5) evidence of the offenses specified above);

c. surveying various Ele directories and the individual Hles they contain;
d. opening files in order to determine their contents;
e. using hash values to narrow the scope of what may be found. Hash values

are under- inclusive, but are still a helpful tool;
f'. scanning storage areas;

g. performing keyword searches through all electronic storage areas to
determine whether occurrences of language contained in such storage areas exist that
are likely to appear in the evidence described in Attachment A; and/or

h. performing any other data analysis technique that may be necessary to
locate and retrieve the evidence described in Attachment B, Section II.

Return and Review Procedurel

6. Rule 41 of the Federal Rules of Criminal Procedure provides, in relevant
part:

(e) Issuing the Warrant.
(2) Contents of the Warrant.

(A) Warrant to Search for and Seize a Person or Property. Except for a tracking-
device warrant, the warrant must identify the person or property to be searched, identify
any person or property to be seized, and designate the magistrate judge to whom it must
be returned. The warrant must command the officer to:

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Case 2:17-mj-00972-N.]K Document 1 Filed 10/10/17 Page 15 of 32

(i) execute the warrant within a specified time no longer than 14 days;

(B) Warrant Seeking Electronically Stored Information A warrant under Rule
41(e)(2)(A) may authorize the seizure of electronic storage media or the seizure or
copying of electronically stored information Unless otherwise specified, the warrant
authorizes a later review of the media or information consistent with the warrant, The
time for executing the warrant in Rule 41(e)(2)(A) and (f)(l)(A) refers to the seizure or
on-site copying of the media or information and not to any later off-site copying or
review.

(f) Executing and Returning the Warrant.
(1) Warrant to Search for and Seize a Person or Property.

(B) Inventory. An officer present during the execution of the warrant must prepare
and verify an inventory of any property seized. . . . ln a case involving the seizure of
electronic storage media or the seizure or copying of electronically stored information
the inventory may be limited to describing the physical storage media that were seized
or copied. The oliicer may retain a copy of the electronically stored information that was
seized or copied.

7. Pursuant to this Rule, the government understands and will act in
accordance with the following:

a. Pursuant to Rule 41(e)(2)(A)(iii), within fourteen (14) days of the execution
of the warrant, an agent is required to file an inventory return with the Court, that is,
to file an itemized list of the property seized. Execution of the warrant begins when
the United States serves the warrant on the named custodian; execution is complete
when the custodian provides all Search Warrant Data to the United States. Within
fourteen (14) days of completion of the execution of the warrant, the inventory will be
filed.

b. Pursuant to Rule 41(e)(2)(B), Rule 41(e)(2)(A) governs the time within
which the electronically stored information must be seized after the issuance of the
warrant and copied after the execution of the warrant, not the “later review of the media
or information”7 seized, or the later off-site digital copying of that media.

c. Under Rule 41(0(1)(13), the inventory return that is to be Hled with the court
may be limited to a description of the “physical storage media” into which the Search
Warrant Data that was seized was placed, not an itemization of the information or data
stored on the “physical storage media” into which the Search Warrant Data was placed;

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Case 2:17-mj-00972-N.]K Document 1 Filed 10/10/17 Page 16 of 32

d. Under Rule 41(f)(1)(B), the government may retain a copy of that information for
purposes of the investigation The government proposes that the original storage media
on which the Search Warrant Data was placed plus a full image copy of the seized Search
Warrant Data be retained by the government

e. If the person from whom any Search Warrant Data was seized requests the return
of any information in the Search Warrant Data that is not set forth in Attachment B,

'Section II, that information will be copied onto appropriate media and returned to the

person from whom the information was seized.

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Case 2:17-mj-00972-N.]K Document 1 Filed 10/10/17 Page 17 of 32

 

SEALED

 

 

Officc of the United States Attorney
District of Nevada

501 Las Vegas Boulevard, Suite 1100
Las Vegas, Nevada 89101

(702) 388-6336

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l Attorney for the United States of America

 

 

Case 2:17-mj-00972-N.]K Document 1 Filed 10/10/17 Page 18 of 32

STEVEN W. MYHRE ,
Acting United States Attorney 2[| n UCT l n mi 9; 37

District of Nevada 1 1 - ~ 111 .
PATRI CK BURNS g\,'__*__r_“

Assistant United States Attorneys
501 Las Vegas Blvd. South, Ste. 1100
Las Vegas, Nevada 89101 `
Telephone: (702) 388-6336

Fax (702) 388-6698

john.p.burns@usdoj.gov

UNITED STATES DlSTRICT COURT
DlSTRICT OF NEVADA
-oOo-

IN THE MAT_TER OF THE SEARCH Magistrate No. ]"7.. m` , (1-7 § ,A);
OF INFORMATION RELATED TO l d
THE AMAZON ACCOUNT LINKED TO
CENTRALPARKl@LIVE.COM THAT

IS STORED AT A PREMISES

CONTROLLED BY AMAZON, INC. APPLICATION

(Under Seal)

 

GOVERNMENT’S APPLICATION REQUESTING
SEALING OF AFFIDAVIT

COMES NOW the United States of America, by and through STEVEN W.
MYHRE, Acting United States Attorney, and PATRICK BURNS, Assistant United States
Attomey, and respectfully moves this Honorable Court for an Order sealing the Affldavit,
together with the Court's Order, in the above-captioned matter until such time as this Honorable
Court, or another Court of competent jurisdiction shall order otherwise
The Government submits that it is necessary for said documents to be sealed in light of
the fact that they make reference to information regarding an on-going investigation

The Government submits that disclosure of the information might possibly jeopardize the

 

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Case 2:17-mj-00972-N.]K Document 1 Filed 10/10/17 Page 19 of 32

investigation The Government Subrnits that its right to secrecy far outweighs the public's right

to know.

DATED this 6 clay of October 2017.

Respectf`ully submitted,

STEVEN W. MYHRE
Acting United States Attorney

moraine/W-

PATRICK BURNS
Assistant United States Attomey

 

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Case 2:17-mj-00972-N.]K Document 1 Filed 10/10/17 Page 20 of 32

UNITED STATES DlSTRICT COURT
DlSTRICT OF NEVADA

-oOo-

IN THE MATTER OF THE SEARCH OF Magistrate NO- 1"7- ml ,. ¢i"j,;g 1 Nj,
INFORMATION RELATED TO THE 1
AMAZON ACCOUNT LINKED TO

CENTRALPARKl@LIVE.COM THAT IS

STORED AT A PREMISES

CONTROLLED BY AMAZON, INC. APPLICATI()N

(Under Seal)

 

 

 

SEALING ORDER

Based on the pending Application of the Government, and good cause appearing therefor,
IT IS HEREBY ORDERED that the Aftidavit, together with the Court's Order, in

the above-captioned matter shall be sealed until further Order of the Court.

DATEDrhiS LM~ day of Qf@w 2017.

 

 

 

Case 2:17-mj-00972-N.]K Document 1 Filed 10/10/17 Page 21 of 32

AO 93‘ (Rev1 11/13) Search and Seizure Warrant

 

UNITED STATES DlSTRICT COURg¢H m 10 111 91 35

 

for the
. . "l ’f` "'i `111.*"=.1`£ JUDGE
District of Nevada U 3 l 'u md
BYW-,._.
ln the Matter of the Search of )
(Briejly describe the property 10 be searched )
or identify the person by name and address) ) Case No, 2217-mj- qj=j - N §§ l<`
AMAZON AccouNT LlNKEo To )
CENTRALPARK‘I@L|VE.COM THAT lS STORED AT A l
PREMISES CONTROLLED BY AMAZON, lNC. l

SEARCH AND SEIZURE WARRANT

 

To: Any authorized law enforcement officer
An application by a federal law enforcement officer or an attorney for thc government requests the search
of the following person or property located in the District of Nevada
(idenlijj) the person or describe the property to be searched and give its loca!ion):
SEE AT|'ACHMENT A

1 find that the aif\davit(s), or any recorded testimony, establish probable cause to search and seize the person or property
deSCrlb€Cl above, and that SuCh Search Will reveal (ident{;j’ the person or describe the property to be seized):

SEE ATTACHMENTS B and C

Er)’,OU ARE COMMANDED to execute this warrant on or before Od:dotf 33 ,&17()¢0¢ w exceed 14 days)
i

n the daytime 6:00 a.m. to 10:00 p.m. 111 at any time in the day or night because good c'ausc has been established

Unless delayed notice is authorized bclow, you must give a copy of the warrant and a receipt for the property taken to the
person nom whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken

The officer executing this warrant, or an officer present during the e ution of the w , must prepare an inventory
as required by law and promptly return this warrant and inventory to . ‘ "‘Yl D pp
b K::zed States Magls'trgte 311di

CI Pursuant to 18 U.S.C. § 3103a(b), 1 find that immediate notification may have adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
properl'y, Will be Searcth Or Seized (checlc the appropriate box)

Cl for days mar w exceed 301 111 until, the facts justifying the later specific date of

Date and time issucd: lode/gm f _z l 200 }QY~'\ ":'

 

 

 

 
 

City and State; Las Vegas. Nevada

 

Case 2:17-mj-00972-N.]K Document 1 Filed 10/10/17 Page 22 of 32

AO 93 (Rev. l ll 13) Search and Seizure Warrant (Page 2)

 

Return

 

Case No.: Date and time warrant executed: Copy of warrant and inventory left with:
2:17-m]-

 

 

 

Inventory made in the presence of :

 

Inventory of the property taken and name of any person(s) seized:

 

Certif'lcation

 

I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.

Date:

 

Execu!ing officer 's signature

 

Prin£ed name and title

 

 

 

Case 2:17-mj-00972-N.]K Document 1 Filed 10/10/17 Page 23 of 32

 

SEALED

   

Of|'lce of the United States Attorney
District of Nevada

501 Las Vegas Boulevard, Suite 1100
Las Vegas, Nevada 89101

(702) 388-6336

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Case 2:17-mj-00972-N.]K Document 1 Filed 10/10/17 Page 24 of 32

ATTACHMENT “A”
ONLINE ACCOUNT TO BE SEARCHED

1. This warrant applies to information related to the Amazon.com account
associated with centralparkl@live.com (the “Target Amazon Account”) from its inception
to present, Which is Stored at premises owned, maintained, controlled, or operated by
Amazon.com, Inc., headquartered at 300 Deschutes Way SW, Suite 304, Tumwater, WA
98501.

 

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Case 2:17-mj-00972-N.]K Document 1 Filed 10/10/17 Page 25 of 32

ATTACHMENT “B”
Particular Things to be Seized

I. Information to be disclosed by the Service Provider

To the extent that the information described in Attachment A is within the possession,
custody, or control of Amazon.com, including any Emails, records, files, logs, or
information that have been deleted but are still available to Service Provider, or have
been preserved pursuant to a request made under 18 U.S.C. § 2703(i), Service Provider
is required to disclose the following information to the government for each account or
identiier listed in Attachment A from account inception to present:

a. All names, addresses, entail addresses, shipping addresses, and billing

information associated with the Target Amazon Account;

Date of account creation;

All purchase history;

Service usage information;

All lnternet Protocol Address logs and information;

All messages and/or communications exchanged with Amazon.com

representative;

g. Any and all information, Eles, and data in possession of Amazon.com
andjor any other entities controlled or operation by Amazon.com, Inc.
related to the Target Amazon Account.

nsa-ssr

II. Information to be seized by the United States

After reviewing all information described in Section I, the United States will seize
evidence of violations of Title 18, United States Code Sections 32(a)
(DestructionfDamage of Aircraft or Aircraft Faci]ities); 37 (a)(2) (Viol_ence at
International A.irport); and 922(a)(3); 5 (Unlawful Interstate Transport/Delivery of
Fi_rearms by Non Federal Fi'rearms Licensee) (the “Subject Offenses”) that occur in the
form of the following, from account inception to present:

a. Communications, transactions and records that may establish ownership
and control (01' the degree thereof) of the Target Account, including address l
books, contact or buddy lists, bills, invoices, receipts, registration records,
bills, correspondence, notes, records, memoranda, telephone/address books,
photographs video recordings audio recordings lists of names, records of

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Case 2:17-mj-00972-N.]K Document 1 Filed 10/10/17 Page 26 of 32

payment for access to newsgroups or other online subscription services, and
attachments to said communications, transactions and records.

b. Communications, transactions and records to/from persons who may be co-
conspirators of the Subject Offenses, or which may identify co-conspirators.

c. Communications, transactions and records which may show motivation to
commit the Subject Offenses.

d. Comrnunications, transactions and records that relate to the Subject
Offenses.

e. Information related to wire transfers andjor the movement, possession, or

storage of currency and valuable items.

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Case 2:17-mj-00972-N.]K Document 1 Filed 10/10/17 Page 27 of 32

ATTACHMEN'I` “C”

PROTOCOL FOR SEARCHING THE ELECTRONIC DATA SEIZED
` PURSUANT TO THIS SEARCH WARRANT

1. ln executing this warrant, the government must make reasonable efforts to
use methods and procedures that will locate and expose in the electronic data produced
in`response to this search warrant (“the Search Warrant Data”) those categories of data,

`files, documents, or other electronically stored information that are identified with

particularity in the warrant, While minimizing exposure or examination of irrelevant,
privileged, or confidential files to the extent reasonably practicable

2. When the Search Warrant Data is received, the government will make a
duplicate copy of the Search Warrant Data (“the Search Warrant Data Copy”). The
original version of the Search Warrant Data Will be sealed and preserved for purposes
of: later judicial review or order to return or dispose of the Search Warrant Data;
production to the defense in any criminal case if authorized by statute, rule, or the
Constitution; for purposes of showing the chain of custody of the Search Warrant Data
and the Search Warrant Data Copy; or for any other lawful purpose. The original of the
Search Warrant Data will not be searched or examined except to ensure that it has been
fully and completely replicated in the Search Warrant Data Copy.

3. The investigating agents will then search the entirety of the Search _
Warrant Data Copy using any and all methods and procedures deemed appropriate by
the United States designed to identify the information listed as Information to be Seized
in Attachment B, Section ll. The United States may copy, extract or otherwise segregate
information or data listed as Information to be Seized in Attachment B, Section lI.
Information or data so copied, extracted or otherwise segregated will no longer be subject
to any handling restrictions that might be set out in this protocol beyond those required
by binding law. To the extent evidence of crimes not within the scope of this warrant
appear in plain view during this review, a supplemental or “piggyback” warrant Will be
applied for in order to further search that document, data, or other item.

4. Once the Search Warrant Data Copy has been thoroughly and completely
examined for any document, data, or other items identified inAttachment B, Section ll
as Information to be Seized, the Search Warrant Data Copy will be sealed and not subject
to any further search or examination unless authorized by another search warrant or
other appropriate court order. The Search Warrant Data Copy will be held and preserved
for the same purposes identified above in Paragraph 2.

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Case 2:17-mj-00972-N.]K Document 1 Filed 10/10/17 Page 28 of 32

5. The search procedures utilized for this review are at the sole discretion of
the investigating and prosecuting authorities, and may include the following techniques
(the following is a non-exclusive list, as other search procedures may be used):

a. examination of all of the data contained in the Search Warrant Data to view
the data and determine whether that data falls within the items to be seized as set forth
herein;

b. searching for and attempting to recover from the Search Warrant Data any
deleted, hidden, or encrypted data to determine whether that data falls within the list
of items to be seized as set forth herein (any data that is encrypted and unreadable will
not be returned unless law enforcement personnel have determined that the data is not
(1) an instrumentality of the offenses, (2) a fruit of the criminal activity, (3) contraband,
(4) otherwise unlawfully possessed, or (5) evidence of the offenses specified above);

c. surveying various file directories and the individual Hles they contain;
d. opening files in order to determine their contents;
e. using hash values to narrow the scope of what may be found. Hash values

are under- inclusive, but are still a helpful tool;
f. scanning storage areas;

g. performing keyword searches through all electronic storage areas to
determine whether occurrences of language contained in such storage areas exist that
are likely to appear in the evidence described in Attachment A; and/or

h. performing any other data analysis technique that may be necessary to
locate and retrieve the evidence described in Attachment B, Section lI.

Return and Review Procedures

6. Rule 41 of the Federal Rules of Criminal Procedure provides, in relevant
part:

(e) Issuing the Warrant.
(2) Contents of the Warrant.

(A) Warrant to Search for and Seize a Person or Property. Except for a tracking-
device warrant, the warrant must identify the person or property to be searched, identify
any person or property to be seized, and designate the magistrate judge to whom it must
be returned. The warrant must command the officer to:

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Case 2:17-mj-00972-N.]K Document 1 Filed 10/10/17 Page 29 of 32

(i) execute the warrant within a specified time no longer than 14 days;

(B) Warrant Seeking Electronically Stored Information A warrant under Rule
41(e)(2)(A) may authorize the seizure of electronic storage media or the seizure or
copying of electronically stored information Unless otherwise specified, the warrant
authorizes a later review of the media or information consistent with the warrant The
time for executing the warrant in Rule 41(e)(2)(A) and (f)(l)(A) refers to the seizure or
on-site copying of the media or information, and not to any later off-site copying or
review.

(i) Executing and Returning the Warrant.
(1) Warrant to Search for and Seize a Person or Property.

(B) lnventory. An officer present during the execution of the warrant must prepare
and verify an inventory of any property seized, . . . ln a case involving the seizure of
electronic storage media or the seizure or copying of electronically stored information,
the inventory may be limited to describing the physical storage media that were seized
or copied. The officer may retain a copy of the electronically stored information that was
seized or copied. 7

7. Pursuant to this Rule, the government understands and will act in
accordance with the following:

a. Pursuant to Rule 41(e)(2)(A)(iii), within fourteen (14) days of the execution
of the warrant, an agent is required to file an inventory return with the Court, that is,
to Ele an itemized list of the property seized, Execution of the warrant begins when
the United States serves the warrant on the named custodian; execution is complete
when the custodian provides all Search Warrant Data to the United States. Within
fourteen (14) days of completion of the execution of the warrant, the inventory will be
filed

b. Pursuant to Rule 41(e)(2)(B), Rule 41(e)(2)(A) governs the time within
which the electronically stored information must be seized after the issuance of the
warrant and copied after the execution of the warrant, not the “later review of the media
or information” seized, or the later off-site digital copying of that media.

c. Under Rule 41(f)(1)(B), the inventory return that is to be iled with the court
may be limited to a description of the “physical storage media” into which the Search
Warrant Data that was seized was placed, not an itemization of the information or data
stored on the “physical storage media” into which the Search Warrant Data was placed;

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Case 2:17-mj-00972-N.]K Document 1 Filed 10/10/17 Page 30 of 32

d. Under Rule 41(0(1)(B), the government may retain a copy of that information for
purposes of the investigation The government proposes that the original storage media
on which the Search Warrant Data was placed plus a full image copy of the seized Search
Warrant Data be retained by the government.

e. If the person from whom any Search Warrant Data was seized requests the return
of any information in the Search Warrant Data that is not set forth in Attachment B,
Section Il, that information will be copied onto appropriate media and returned to the
person from whom the information was seized,

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AO 93 (Rev. |l/l 3) Search and Seizure Warrant
%
UNITED STATES DlSTRICT COURT

for the
District of Nevada

ln the Matter ofthe Search of )
(Br)`efly describe the property to be searched )

or identpj) the person by name andaddress) ) Case NO_ 2;17-mj- (-i 743 m M-§ }<
AMAZON ACCOUNT LINKED TO }
CENTRALPARK1@LIVE.COM THAT lS STORED AT A )
PREMISES CONTROLLED BY AMAZON, lNC. )

SEARCH AND SEIZURE WARRANT

To: Any authorized law enforcement officer

An application by a federal law enforcement officer or an attorney for the government requests the search

 

of the following person or property located in the District of ` Nevada
(identifj/ the person or describe the property 10 be searched and give irs location)!
SEE ATTACHMENT A

l find that the aftidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (idemw she person or describe me prepare m be seized):

SEE ATTACHMENTS B and C

Y,QU ARE COMMANDED to execute this warrant on or before ref ' ` 110 exceed 14 dast
G-"‘ 1n the daytime 6: 00 a. m. to lO: 00 p. m. ll'l at any time in the day or night because good cause has been established

Unless delayed notice is authorized below, you must give a copy of the wanant and a receipt for the property taken to the
person from whom, or from whose prcmises, the property was taken, or leave the copy and receipt at the place where the
property was takcn.

The officer executing this warrant, or an officer present during the execution of the warra'rgl`ust prepare an inventory
as required by law and promptly return this warrant and inventory to i\lc],, jug , c 7 L,.¢{:
(Uh\!(e‘§iates Magislrd;.gzdge) f

13 Pursuant to 18 U S. C. § 3103a(b), l find that immediate notification may have an§verse result listed 111 18 U S. C
§ 2705 (except for delay of trlal), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be Searcth Or Seized (check fha appropria!e box)

D for days (noz to exceed_?c}) El until, the facts justifying, the later specific date of

Date and time issued: }C’/¢p,,/_f:y@~q ’? 51 " EDAJ,Y\. /»]\`§\ W?
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Ciry and safer '-as V°Qas- Nevada 7/;1{_¢-1»). 05 ML since jolly

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AO 93 (Rev. ll/l 3) Search and Seizure Warrant (Page 2)

Case 2:17-mj-00972-N.]K Document 1 Filed 10/10/17 Page 32 of 32

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Return

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Case No.: Date and time warrant executed:

2117-mr 01‘+9_» NJ\¢_ \c _[igl n ;\'.00

 

 

Copy of warrant and inventory left with:

U.S. ieil@\&l§iifirt`l`f JUDGE

 

lnventory made in the presence of :

win

DV
tJl

 

Inventory of the property taken and name of any person(s) seized:

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Amo.:zon.com mccoon»¥ \ncorw\o:ho~n wee-outlawde

 

Certifics_:tion

 

designated judge.

Date:

l declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the

 

Executing officer ‘s signature

 

 

Prinied name and title

 

 

